       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 1 of 45




                                  No. 23-15259


                                     IN THE
               United States Court of Appeals
                    for the Ninth Circuit
                           ______________________

WESTERN WATERSHEDS PROJECT; WILDLANDS DEFENSE; GREAT BASIN RESOURCE
               WATCH; and BASIN AND RANGE WATCH;
                        Plaintiffs–Appellants,

                   BARTELL RANCH LLC AND EDWARD BARTELL,
                                  Plaintiffs,

             RENO-SPARKS INDIAN COLONY; BURNS PAIUTE TRIBE;
                          Plaintiffs–Intervenors,

                                        v.

ESTER M. MCCULLOUGH; BUREAU OF LAND MANAGEMENT; and U.S. DEPARTMENT
                          OF THE INTERIOR;
                        Defendants–Appellees,

                        LITHIUM NEVADA CORPORATION;
                        Defendant–Intervenor–Appellee.
                           _____________________

                 On Appeal from the United States District Court
           for the District of Nevada, No. 3:21-cv-00080-MMD-CLB
                       Chief District Judge Miranda M. Du
                            ______________________

   LITHIUM NEVADA CORPORATION’S RESPONSE TO
EMERGENCY MOTIONS FOR INJUNCTION PENDING APPEAL
                ____________________

Laura K. Granier                        Andrew C. Lillie
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 2 of 45




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                                        ii
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 3 of 45




                       CONFERRAL STATEMENT

The parties have conferred and Appellants agree that Lithium Nevada may use up to

10,000 words in this response. Lithium Nevada confirms that this response contains

10,288 words.




                                      -1-
        Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 4 of 45




                               INTRODUCTION

     Appellants seek to further delay the Thacker Pass mine, disregarding our coun-

try’s need for the lithium critical to combat climate change, ensure national security,

and mitigate America’s dependence on an increasingly aggressive foreign country.

     After more than a decade’s work on baseline environmental studies1 and, then

an additional two-year delay to move the Project to avoid high-quality sage grouse

habitat, in 2020, BLM started the NEPA process for the Project. In 2021, BLM ap-

proved the Project through a record of decision (“ROD”) supported by a final envi-

ronmental impact statement (“EIS”), which Appellants challenged, arguing that

BLM violated the Federal Land Policy and Management Act (“FLPMA”) and the

National Environmental Policy Act (“NEPA”).

     On February 6, the district court rejected all of their challenges—save one. The

court determined that BLM committed a single infraction under FLPMA and pursu-

ant to this Court’s recent decision in Center for Biological Diversity v. U.S. Fish &

Wildlife Service, 33 F.4th 1202 (9th Cir. 2022) (“Rosemont”),because BLM did not

determine whether Lithium Nevada had discovered valuable minerals underlying

1,300 acres (“Site”) slated for placement of waste rock and tailings generated from

the development of the mining claims in the pit area. But, unlike in Rosemont, the



1
 See SER813 (water data collection began in 2011); SER747 (baseline surveys for
sage-grouse began in 2011).

                                         -2-
        Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 5 of 45




record here shows extensive lithium mineralization throughout the Project area—

including the Site. Based on that evidence and its finding of no other errors in BLM’s

review, the court remanded without vacating the ROD, because there was a serious

possibility that BLM would fix its narrow error. The court devoted the remainder of

its 49-page order to scrutinizing, and ultimately rejecting, all of Appellants’ other

arguments.

     Because the court remanded without vacatur, the ROD is in effect and construc-

tion can finally commence. Appellants sought to halt construction first through an

unsuccessful motion for injunction pending appeal below, which the court rejected

because Appellants failed to show (1) a likelihood of success on appeal, (2) that de-

layed construction would not harm Lithium Nevada, and (3) that an injunction pend-

ing appeal would serve the public interest. Appellants now ask this Court for an in-

junction pending appeal (“Motion”). That request also should be denied.

     First, Appellants have failed to show they are likely to succeed on the merits.

The district court acted well within its discretion in remanding without vacatur be-

cause it correctly found that there is at least a serious possibility that BLM will sub-

stantiate its decision on remand. The record supports the court’s finding that there is

a serious possibility that BLM will determine that Lithium Nevada has discovered

valuable minerals underlying the Site. Even if BLM determines that Lithium Nevada

has not discovered valuable minerals under the Site, however, it can still authorize


                                         -3-
        Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 6 of 45




Lithium Nevada’s use of the Site for waste rock and tailings conditioned on Lithium

Nevada locating mill sites for such use. It is undisputed that waste-rock storage is a

lawful use of mill sites, which can be located on lands that are inadequately miner-

alized to support mining claims. The entire thrust of Appellants’ Rosemont argument

is that BLM’s error led it to wrongfully exempt the Project from the governing re-

source-management plan (“RMP”). But that is simply incorrect: here, BLM applied

the RMP and required mitigation that will lead to a net conservation gain for sage-

grouse habitat. Appellants’ remaining FLPMA and NEPA arguments similarly lack

any likelihood of success on the merits—arguments that the district court thoroughly

reviewed and rejected.

     Second, Appellants incorrectly argue the environmental and aesthetic harms

they fear count as “irreparable harms” that automatically entitle them to an injunc-

tion. That is not the law. Nor have Appellants carried their burden to show that the

harms they raise are both certain to occur and sufficiently grave to warrant the ex-

traordinary relief they seek.

     Third, Appellants do not dispute that an injunction pending appeal would im-

pose severe harms on Lithium Nevada. The delay would frustrate Lithium Nevada’s

$150-million preconstruction investments. It would delay annual revenues from the

Project estimated to be around $1.5 billion. And the delay could jeopardize addi-

tional Project funding.


                                        -4-
              Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 7 of 45




         Fourth, Appellants have failed to show an injunction is in the public interest.

To the contrary, the delay they seek would thwart the public interest in tackling cli-

mate change—every day of delay equates to losing lithium production that would

support about 4,100 electric vehicles per day;2 enhance Nevada’s local economy;

create over 1,300 jobs; generate almost $7 billion in federal, state, and local taxes;

and curb the country’s reliance on questionable foreign lithium sources.

         Bartell Ranch LLC and Edward Bartell (collectively “BRL”) also seek to enjoin

construction. The court denied BRL’s claims except to the extent BRL joined in EN-

GOs’ Rosemont claim, and denied BRL’s request for vacatur. The court also denied

BRL’s subsequent emergency motion for an injunction pending appeal. BRL’s novel

theory presents an impermissible interpretation of the Mining Law that would pro-

hibit any ancillary use even where it’s undisputed a valuable mineral deposit has

been discovered. Notwithstanding BRL’s acknowledgment that the mining claims

in the Project’s mine-pit area are valid and can be developed, BRL argues that no

ancillary use of other lands is permissible – whether for a road, a water line, or other

processing facilities obviously necessary to develop the conceded valid mining

claims. This absurd interpretation would frustrate the purpose of the Mining Law of

1872 by interfering with development of domestic minerals, and ignores the Rose-

mont decision and the Code of Federal Regulations, both of which authorize non-


2
    Dkt. 10, Ex. 1 ¶ 17.


                                             -5-
        Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 8 of 45




mineralized lands to be used to support a mining project: mill sites under 43 C.F.R.

§3832.34 or, “reasonably incident” uses under 43 C.F.R. § 3715. BRL failed to show

a likelihood of success and failed to satisfy the other three requirements for injunc-

tive relief, particularly on the water infrastructure which will be removed or re-

claimed and, thus, there’s no Rosemont “permanence” issue.

     Finally, Appellants could have briefed vacatur during summary judgment but

substantively failed to do so. BRL requested vacatur but provided no analysis,

SER4846, and ENGO Appellants simply argued vacatur was the default remedy.

SER4756. Although Lithium Nevada argued that vacatur is an equitable issue and

provided detailed explanations as to why vacatur was unwarranted, ER176–78, Ap-

pellants did not substantively engage with that analysis and simply repeated on reply

that vacatur is presumed. ECF 264 at 40. Appellants then raised entirely new argu-

ments about vacatur for the first time after the case closed, in their emergency mo-

tions for injunction. Crucially, Appellants all failed below to brief the elements to

justify an injunction, SER4968, SER176, SER5085, and no party requested an in-

junction at the summary-judgment hearing, waiting instead to do so after the case

concluded. Tr. Appellants should not now be allowed to supplement their briefing

post-decision to raise new arguments for vacatur and an injunction when they had

the opportunity to do so below and focused their briefing elsewhere.

     Therefore, Appellants’ Motion should be denied.


                                        -6-
         Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 9 of 45




                                  ARGUMENT

     Whether to grant the Motions3 “is committed to the exercise of judicial discre-

tion.” Doe v. Trump, 957 F.3d 1050, 1058 (9th Cir. 2020). Appellants must show that

“the circumstances justify an exercise of that discretion” in their favor, Nken v.

Holder, 556 U.S. 418, 433–34 (2009), based on four factors: (1) whether Appellants

made a strong showing that they are likely to succeed on the merits of their appeals;

(2) whether Appellants will be irreparably injured without an injunction pending ap-

peal; (3) whether an injunction would substantially injure other parties; and

(4) whether an injunction would be in the public interest. See id. at 426. Appellants

have failed to show any of these factors favor granting an injunction pending appeal.

I.   Plaintiffs have not made a strong showing that they are likely to succeed
     on the merits of their appeal.

     ENGO Appellants mischaracterize the court’s treatment of their claims on sum-

mary judgment, asserting the court held that “BLM unlawfully approved the Pro-

ject.” Motion at 5. The reality is—as the district court plainly stated in its Merits

Order—that the court denied all of Appellants’ claims save one piece of one claim



     3
       As the district court found, Plaintiffs do not seek to maintain the status quo.
They seek to change it. ER4. The status quo is an effective ROD authorized by BLM
and upheld by the district court authorizing Lithium Nevada to begin construction.
Appellants ask this Court to prevent that. Dkt. 10. The standard for such a “manda-
tory injunction” that will disrupt the status quo is “doubly demanding.” Hernandez
v. Sessions, 872 F.3d 976, 997 (9th Cir. 2017).

                                        -7-
         Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 10 of 45




related to the Site. Other than that, the court, in a thorough order, upheld BLM’s

approval of the Project. See ER234, ER240.

     Appellants argue the court’s conclusion that BLM failed to determine Lithium

Nevada’s rights under the Mining Law to use the Site required vacatur. They also

contend that they are likely to succeed on their other claims—every one of which

the court rejected. Both contentions fail.


     A. Appellants have not made a strong showing that the court erred in
        remanding without vacatur.

     Appellants are unlikely to succeed on their remand-without-vacatur argument.

In deciding whether to remand without vacatur, courts “weigh the seriousness of the

agency’s errors against the disruptive consequences of an interim change that may

itself be changed.”4 Pollinator Stewardship Council v. EPA, 806 F.3d 520, 532 (9th

Cir. 2015). Under this balancing test, a court acts within its discretion to remand

without vacatur when there is a serious possibility the agency will be able to reach

the same decision on remand. Id. This Court reviews a decision such a decision only




     4
       Applying this balancing test, the district court did not abuse its discretion in
striking the balance in favor of remand without vacatur, in part, because the disrup-
tive consequences of even a temporary delay would be severe for Lithium Nevada,
the local communities near the Project, and national and global interests. See infra
pp. ___.

                                         -8-
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 11 of 45




for abuse of discretion. See Pit River Tribe v. U.S. Forest Serv., 615 F.3d 1069, 1080

(9th Cir. 2010).

     Here, the court acted within its discretion because, as it found, “there is at least

a serious possibility” that BLM will substantiate its decision on remand. ER215 (em-

phasis added), and, the disruptive consequences of an interim change would be se-

vere for Lithi-um Nevada and the public. That is so for at least three reasons.


     1.     There is a serious possibility that BLM will substantiate its decision
            on remand because the record shows widespread mineralization
            throughout the Project area.

     As the district court found, unlike in Rosemont, the administrative record here

shows widespread lithium mineralization throughout the Project area—including

underlying the Site. ER215. This evidence led the court to find that there is at least

a serious possibility that on remand, BLM will determine that Lithium Nevada has

discovered valuable minerals underlying the Site: that will substantiate Lithium Ne-

vada’s right to use those acres for waste rock and tailings. ER8. And if BLM deter-

mines adequate mineralization exists to support that use of the mining claims, BLM

will ratify its prior decision. Id.

     Appellants try to dictate BLM’s process on remand, arguing that the claim-va-

lidity examination, which BLM has only applied for patents, claims contests, tres-

passers, and evaluating proposed mines on lands withdrawn from mineral entry,



                                          -9-
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 12 of 45




must be applied here.5 The “hundred years of precedent” that Appellants reference

relate entirely to other narrow situations. In contrast, this case involves a common

FLPMA permitting review where there is an acknowledged valuable mineral deposit

being developed.6 Appellants ask the Court to dictate the processes and procedures

that BLM must follow in evaluating whether Lithium Nevada has discovered ade-

quate minerals to substantiate ancillary uses on the Site. This Court need not—and

should not—dictate BLM’s processes and procedures. Instead, as in Rosemont, 33

F.4th at 1210, the Court should leave it to BLM to determine the appropriate ap-

proach. Rosemont, 33 F.4th at 1224 (holding it would be premature to opine on

agency’s interpretation of its regulations when agency has not yet interpreted and



5
  Although Appellants portray this as their “primary legal claim, as their lengthy
“other claims section” indicates, Appellants brought many claims below, and their
shift to highlighting Rosemont happened only after losing every other argument. See
ER29–75 (complaint alleging almost 50 pages of arguments under FLPMA and
NEPA).
      6
        Appellants’ cited cases on validity determinations address different contexts
and are inapposite. Chrisman v. Miller, 197 U.S. 313, 323 (1905) (addressing “con-
troversy [that] is between two mineral claimants”); United States v. Coleman, 390
U.S. 599, 600–01 (1968) (claim patent application). Waskey v. Hammer, 223 U.S.
85, 91 (1912) (adjudicating a dispute between overlapping mining claims); Lom-
bardo Turquoise Mining & Milling v. Hemanes, 430 F. Supp. 429, 443 (D. Nev. 1977)
(adjudicating a quiet title action); Converse v. Udall, 399 F.2d 616, 619 (9th Cir.
1968) (claim patent application); Ideal Basic Indus., Inc. v. Morton, 542 F.2d 1364
(9th Cir. 1976) (same); United States v. Springer, 491 F.2d 239 (9th Cir. 1974)
(same); U.S. v. Pittsburg Pacific, Co., 84 Interior Dec. 282 (IBLA 1977) (same).


                                       - 10 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 13 of 45




applied them: “Unless and until the Service decides on remand that Part 228A regu-

lations are applicable to Rosemont’s proposed occupancy of invalid mining claims

with its waste rock, and unless and until the Service construes those regulations to

permit such occupancy, any ruling by our court on these questions is premature.”).

Moreover, as Appellants acknowledged in briefing below, Rosemont did not require

the formal claim-validity examination required in other contexts, but instead noted

that “an agency need only develop a factual basis on which it could form an opinion

on surface rights,” SER4729–30– a very different standard than Appellants now ar-

gue. See id. at 1229 (citing district court’s identified requirement for mining-claim

review, which this Court did not disturb on appeal). It is for BLM to implement the

Mining Law and determine what processes should apply. See Grand Canyon Tr. v.

Provencio, 26 F.4th 815, 827 (9th Cir. 2022). Rosemont and the district court both

recognized this and Appellants’ efforts to have this Court prematurely decide this

issue in the abstract, and before BLM’s review, should be rejected.

     Moreover, in Rosemont this Court declined to decide BLM’s processes and

whether a formal claims-validity determination is required for ancillary use of min-

ing claims. That is because on that record, it was irrelevant: the undisputed evidence

was that the claims at issue lacked any mineralization. 33 F.4th at 1222. That is not

this case. As the district court recognized, here, there is evidence of widespread




                                        - 11 -
         Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 14 of 45




mineralization throughout the Project area which, as Rosemont recognized, puts any

claim validity review solely within BLM’s jurisdiction.

     Moreover, Appellants’ arguments about the record lacking information on min-

eral-extraction and -marketing costs is irrelevant. Mot. at 10–11. Because the record

contains no information about those costs, Appellants argue that the court’s conclu-

sion—that there is a serious possibility that underlying valuable minerals exist—was

speculative. But, as the court recognized when it rejected this argument, “there need

not be certainty of sufficient mineralization in the waste dump and mine tailings

land—there must only be a serious possibility.” ER7 (emphasis added). Because

the record shows that extensive mineralization exists throughout the Project area,7

even without extraction and marketability data, the district court acted within its




     7
        One of the geological reports that mineralization is “laterally extensive
throughout the caldera”. Lithium Nevada demonstrated significant evidence of min-
eralization throughout the record. As the FEIS states, “[t]he clay within the Project
area contains “mineralization of up to 9,000 parts per million (ppm), and the former
up to 4,000 ppm,” and the rocks drilled “contain anomalously high lithium contents
(greater than 100ppm).” SER737; SER1038. Lithium Nevada identified numerous
other geologic analyses throughout the record and over time that all consistently re-
iterated the high mineralization within the Project area. See ER144–46. This infor-
mation demonstrated to the court that there was a “serious possibility” that the claims
underlying the mine pit, waste-rock and tailings dumps, and the remainder of the
claims within the Project area would support Lithium Nevada’s use under the Mining
Law after BLM’s review. ER215–16.


                                        - 12 -
        Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 15 of 45




discretion in finding at least a serious possibility that valuable minerals underlie the

Site. Id.

     Appellants contend that BLM must make its claim-review determination on re-

mand based on the current administrative record. Mot. at 10–12. And argue that will

be impossible without extraction or marketing cost information. But this argument

rests on a faulty premise: BLM’s claim-review determination on remand is not lim-

ited to the current record (and the district court implicitly rejected that contention).

See ER7. Appellants cite no authority to the contrary. Instead, they assert that both

BLM and Lithium Nevada agreed that BLM is limited to the current record on re-

mand. Not true. Neither BLM nor Lithium Nevada has stated that BLM must con-

duct its claim review on remand using only the existing record. Plus, the premise

contradicts the purpose of remand: to allow the agency to take any steps necessary

to review the narrow issue and explain its decision.

     Appellants also argue that the court’s serious-possibility determination is wrong

because of two pieces of evidence they mischaracterize as suggesting that valuable

mineral deposits do underlie the Site. Appellants cite a pre-feasibility study that, they

say, suggests that lithium mineralization does not extend to the Site. Mot. at 11.8


8
  Lithium Nevada specifically addressed the ENGO Appellants’ misunderstanding
of the 2018 Pre-Feasibility Study in its Reply below and explained how the defini-
tion of “mineralization” used in that report is more limited under Securities law.
SER5062–63. The report itself demonstrates this difference as it identifies for


                                         - 13 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 16 of 45




They also contend that Lithium Nevada’s willingness to bury the Site under waste

rock implies that no underlying valuable minerals exist. Mot. at 12. But the court

considered this, and still found, based on voluminous record evidence, see Merits

Order at 11,9 that there is at least a serious possibility that valuable minerals underlie

the Site. Id. at 11–12. This finding despite Appellants’ meager conflicting evidence

does not amount to clear error or an abuse of discretion. See Inst. of Cetacean Re-

search v. Sea Shepherd Conservation Soc’y, 725 F.3d 940, 944 (9th Cir. 2013) (court

abuses its discretion only if its ruling rests on clearly erroneous assessment of evi-

dence).


     2.     There is a serious possibility BLM will substantiate its decision on re-
            mand even if BLM finds inadequate mineralization on the Site.

     Even if BLM finds inadequate mineralization underlying the Site for mining

claims, BLM could still lawfully authorize use of the Site for waste rock. As this

Court recognized in Rosemont, the “Mining Law allows the owner of a valid mining

claim on land containing valuable minerals to obtain possessory rights to other land




investment purposes the specific areas of “mineralization” under Securities Law but
acknowledges “continuous high grade subhorizontal … lithium across the project
area.” SER5063. Plaintiffs could have addressed this at hearing, where the court di-
rected the parties to address the potential impact of Rosemont, but Plaintiffs did not.
     9
       The record shows, e.g., that lithium clay “comprises 40 to 90 percent” of the
sedimentary section under the entire caldera lake beneath the Project, an area that
includes the 1,300-acre waste-rock site. SER5209, SER736.

                                          - 14 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 17 of 45




for use as a ‘mill site.’” 33 F.4th at 1210. “[L]and under a mill site need not contain

valuable minerals,” and under BLM regulations, valid mill-site uses include waste-

rock storage and “‘any other use that is reasonably incident to mine development

and operation.’” Id. “[A]lthough the Mining Law limits individual mill sites to five

acres, current regulations, unchallenged in this suit, allow owners of mining claims

to stake multiple mill sites if ‘reasonably necessary’ for their mining operations.”

Id.10 Appellants did not challenge BLM’s mill-site regulation here and Appellants

themselves argue the need for waste-rock storage for mining operations.11 So, it is

undisputed that even if BLM found inadequate mineralization to support mining


     10
        Some of the same Appellants here unsuccessfully challenged this mill-site
regulation before in the District of Columbia. Earthworks v. U.S. Dep’t of the Inte-
rior, 496 F. Supp. 3d 472, 494–95 (D.D.C. 2020), appeal docketed, No. 20-5382
(D.C. Cir. Dec. 30, 2020) (holding that 43 C.F.R. § 3832.32 is a reasonable construc-
tion of Section 42 of the Mining Law because Section 42 is silent as to the number
of mill sites that can be located per claim and BLM’s regulation is a “permissible
construction” of the mill-site provision that is thoroughly justified by “drawing on
the statutory text, Supreme Court precedent, [BLM’s] view of the congressional pol-
icy behind the Mining Law, and longstanding BLM practice”).
11
   As Rosemont recognized, mill sites are an alternative valid right under the Min-
ing Law. Appellants don’t argue Lithium Nevada is prohibited from exploring the
mining claims that will site the waste-rock storage, given the mineralization of
those lands; development of those minerals is allowed. Because this will be the
first mine in this newly identified Lithium District, there is significant potential for
future development, including underground mines. This is consistent with the de-
velopment history of several Nevada mining districts which started as open-pit and
evolved into underground mining. Placement of waste rock on the surface does not
preclude future underground mining under the waste rocks or upon relocating the
material.

                                         - 15 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 18 of 45




claims on the Site, BLM still could authorize the same use—storage of waste rock—

conditioned on Lithium Nevada’s locating mill sites on those acres.12

     Thus, on remand, even if BLM found mineralization inadequate to support an-

cillary use on the mining claims at the Site, there would be no different outcome

because BLM could authorize the same use conditioned on Lithium Nevada’s loca-

tion of mill sites. And no one disputes Lithium Nevada’s right to place waste rock

and tailings on mill sites, as the Rosemont decision confirms.13


     12
         Rosemont did not address the question here: whether the agency could cure
the error by conditioning use of the land for waste rock and tailings on the company
locating mill sites for that use. In this appeal, by contrast, one issue is whether there
is a serious possibility that BLM will substantiate its decision on remand which BLM
could do by authorizing the use of the Site conditioned on location of mill-site claims
if BLM finds inadequate mineralization on any of the mining claims underlying the
Site. There’s nothing speculative about BLM’s ability to condition authorization on
remand to Lithium Nevada locating mill-sites or Lithium Nevada’s ability to locate
mill sites as needed on any lands BLM determines to be nonmineral in character
(which under BLM’s regulations at 43 C.F.R. §3830.5 means they are inadequately
mineralized to support mining claims).

     13
       Appellants may argue that Lithium Nevada cannot use mill sites on lands with
mineralization. But BLM’s regulations make clear that mineralization either is ade-
quate to support a “discovery” of a valuable mineral deposit or, if not, they are not
mineral in character and can be used as mill sites. 43 C.F.R. §3830.5. Appellants’
suggestion that there could be some instance where there is no right to use lands for
waste rock storage would result in an absurdity and frustration of Congress’s explicit
purpose to facilitate and encourage development of domestic minerals. A fundamen-
tal purpose of the Mining Law is to encourage “[t]he development of economically


                                         - 16 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 19 of 45




     3.     There is a serious possibility BLM will substantiate its decision on re-
            mand because, in all events, the Project will adhere to the RMP.

     Appellants contend that BLM’s failure to determine if Lithium Nevada had dis-

covered valuable minerals under the Site led BLM to erroneously “exempt” the Pro-

ject from the sage-grouse RMP and, as a result, BLM did not apply certain sage-

grouse conservation requirements to the Project. Mot. at 1, 7. This fails for several

reasons. First, Appellants never identify any supposed violation of the RMP tied to

the waste-rock storage-area use. Because they concede the validity of Lithium Ne-

vada’s mining claims in the pit area, they also concede certain RMP requirements do

apply to those claims and the development of the minerals on those claims. They

also fail to identify which RMP requirements supposedly were violated with respect

to the Site as compared to those that relate to the development of the discovered

valuable minerals. Second, Appellants ignore that BLM explained in the RMP EIS



sound and stable domestic mining ... industries, and the orderly, and economic de-
velopment of domestic mineral resources, reserves … to help assure satisfaction of
industrial, security and environmental needs.” Krueger v. Morton, 539 F.2d 235, 240
n.14 (D.C. Cir. 1976) (quoting 30 U.S.C. § 21a (1970)). The Supreme Court instructs
that “[w]e should not lightly conclude that Congress enacted a self-defeating stat-
ute.” Quarles v. United States, 139 S. Ct. 1872, 1879 (2019) (rejecting interpretation
that would “thwart the stated goals” of the statute). The Court cannot read the Mining
Law in a way that would defeat this congressional purpose—which clearly would be
the case if there were no place to store waste rock or overburden that must be re-
moved to uncover the valuable minerals that Plaintiffs here concede Lithium Nevada
has discovered.

                                         - 17 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 20 of 45




that its “[s]tipulations do not apply to locatable mineral development” unless the

subject lands “are withdrawn from mineral entry.” ER140 (“development of locata-

ble mineral deposits are nondiscretionary actions allowed under the General Mining

Law of 1872 on all BLM administered”). Therefore, the very RMPs Appellants claim

BLM somehow violated are clear about their limited application to locatable mineral

projects such as this one, meaning they don’t apply here. Appellants’ argument that

they somehow apply to certain lands within the Project area is unsupported. The

lands here are not withdrawn and Appellants do not here challenge the RMP.

     Finally, Appellants overlook a critical fact: BLM did adhere to the RMP re-

quirements, and Lithium Nevada has agreed to do so, resulting in a net conservation

gain to sage-grouse habitat in the area. See SER5108–09; SER5148–49; SER5157.

This is another reason why there’s at least a serious possibility that BLM will be

able to substantiate its decision on remand, and another reason why remand without

vacatur was proper.


     4.     The court did not abuse its discretion in determining that the serious-
            ness of BLM’s error did not compel vacatur.

     Appellants contend that their remand-without-vacatur argument is likely to suc-

ceed because the court did not give sufficient weight to the seriousness of BLM’s

error. This too lacks merit on several counts.




                                         - 18 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 21 of 45




          First, Appellants argue that the Rosemont error infected BLM’s analysis of

the entire Project. Mot. at 12. Plaintiffs never raised this argument in their merits

briefing below where they focused the Rosemont issue solely on the Site. ECF 264

at 4. It is therefore waived. The court emphasized that “BLM substantially complied

with the applicable legal requirements here, which supported the Court’s decision to

remand without vacatur.” ER6; accord ER8. Third, the district court held BLM’s

failure to undertake an inquiry into mineralization under the Site did not “infect[]

the entire ROD with error.” ER7. Rather, because “there is evidence in the record of

lithium mineralization such that BLM may be able to fix its error on remand” id.

(citing ER215–16, ER251–52), the court held: “there need not be a certainty of suf-

ficient mineralization in the waste dump and mine tailings land—there must only be

a ‘serious possibility,’ … and the [c]ourt found just such a serious possibility.” ER7

(citing ER215–16). Plus, as the court explained, “the ROD approved two different

plans of operations, and the Court only found that BLM erred as to the portion of the

ROD approving the mining plan of operations that covered the waste dump and mine

tailings land.” ER7.

     Additionally, Appellants argue that, based on the vacatur in Rosemont, where

the court found the Forest Service’s assumption of mining-claim validity “tainted”

the entire Project, vacatur is required here. But the Rosemont facts were different,

and here, Appellants tied the Rosemont error solely to the alleged sage-grouse RMP


                                        - 19 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 22 of 45




“exemption” – they never argued this error affected any other environmental analysis

of the Project. Conversely, the Rosemont plaintiffs argued the error impacted multi-

ple issues that the agency determined “improperly limited its choice of alternatives

[under its NEPA analysis], [improperly limiting] mitigation measures, and [in many

instances improperly limiting its] ability to deny or restrict project activities” due to

the agency assuming Mining Law rights. Save the Scenic Santa Ritas v. USFS, Case

No. 4:17-cv-00576-RCC (Nov. 27, 2017), ECF 1 ¶145 (case consolidated under

Rosemont). The Rosemont Court correspondingly applied the claim-validity issue to

that entire project. Any such comparison here is inapplicable.14 And the Rosemont

Court did not reach the issue squarely before this Court—whether it is essentially

harmless error in any event because nonmineral lands can be for mill sites for waste-

rock storage and other ancillary uses because they don’t change the environmental

analysis for the Project. 33 F.4th at 1221–22.15

     Second, Appellants argue BLM’s error was serious because it contradicted the

Mining Law. Mot. at 9. Again, the court soundly rejected that argument. That BLM



     14
        Plaintiffs now argue a formal claim validity examination, using Appellants’
preferred process, be required, but Rosemont did not order any particular validity
determination process. 33 F.4th at 1229 (citing district court’s ruling having faulted
the Forest Service for failing to develop “a ‘factual basis upon which [it] could form
an opinion’ as to the validity of Rosemont’s unpatented claims,” (citation omitted)
which this Court did not disturb on appeal).
     15
        See generally CBD v. USFWS, Case No. 19-17585, ECF 24; ECF 27.

                                         - 20 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 23 of 45




had a duty to determine if Lithium Nevada has a discovery at the Site arose after this

Court’s Rosemont decision—a decision issued a year after BLM issued the ROD.

Given this timing, the court acted within its discretion in concluding that “it would

be inequitable to remand with vacatur based on Rosemont because BLM was fol-

lowing longstanding regulations when it decided not to evaluate claim validity and

Rosemont was not even published until after the merits briefing began in this case.”

ER6.

     To be sure, some courts measure the seriousness of an agency’s error by as-

sessing how egregiously the error contravenes the purposes of the statutes in ques-

tion. See, e.g., Or. Nat. Desert Assoc. v. Zinke, 250 F. Supp. 3d 773, 774 (D. Or.

2017). BLM’s longstanding practice before this case hardly contravened statutory

purpose. Congress has declared for decades that it is national policy to facilitate and

encourage private development of domestic minerals. See, e.g., 30 U.S.C. § 21(a)

(codifying the Mining and Minerals Policy Act of 1970). Congress has reaffirmed

that policy many times. See, e.g., 30 U.S.C. § 1602(7), (8) (codifying December

2020 amendments to National Materials and Minerals Policy, Research and Devel-

opment Act of 1980). And most recently, for critical minerals—including Lithium—

Congress charged executive agencies with finding permitting efficiencies because

permitting delays are hindering development of domestic minerals. See 30 U.S.C.

§ 1607 (codifying provisions from the Infrastructure Investment and Jobs Act of


                                        - 21 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 24 of 45




2021). BLM’s historical practice did not contravene these congressional purposes

and national policies; it aligned with them.


     5.     The court did not abuse its discretion in determining that environmen-
            tal harm did not compel vacatur.

     Appellants erroneously argue that this Court has set a per se rule that vacatur is

mandatory on remand where there is environmental harm. To the contrary, this Court

has clarified that risk of environmental harm is only one factor for the court to con-

sider. NRDC v. EPA, 38 F.4th 34, 51–52 (9th Cir. 2022). It’s not a determinative

factor. This Court and others consistently allow remand without vacatur even when

doing so will lead to environmental or other harms. Cal. Cmtys. Against Toxics v.

EPA, 688 F.3d 989, 993 (9th Cir. 2012); ‘Ilio’ulaokalani Coal. v. Rumsfeld, 464 F.3d

1083, 1102 (9th Cir. 2006); Gulf Restoration Network v. Haaland, 47 F.4th 795, 804

(D.C. Cir. 2022); Backcountry Against Dumps v. Perry, 2017 U.S. Dist. LEXIS

139090, at *4, *15–16 (S.D. Cal. Aug. 29, 2017).


     B.     Appellants have not made a strong showing that they are likely to suc-
            ceed on their other arguments on appeal.

     Appellants argue they are likely to succeed on every other argument they

raised—and lost—on summary judgment. But the district court thoroughly and per-

suasively rejected all those arguments. The court rejected the argument that BLM

violated FPLMA based on alleged undue and unnecessary degradation of sage-


                                         - 22 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 25 of 45




grouse habitat, local groundwater, and air quality. ER220–23. And the court rejected

Appellants’ NEPA arguments based on air-quality standards; alleged failures to ade-

quately analyze (a) baseline wildlife conditions for sage-grouse, pronghorn, and

springsnails; (b) impacts on wildlife and cumulative effects on wildlife; and (c) mit-

igation measures about groundwater and wildlife impacts; and an alleged failure to

adequately analyze baseline water resources. The district court’s comprehensive and

persuasive reasoning, set out in a 49-page order in which the court set out its analysis

in painstaking detail, demonstrates that Appellants’ other arguments on appeal are

unlikely to succeed.


     1.     BLM prevented unnecessary and undue degradation under FLPMA.16

      Appellants argue BLM’s failure to apply 2015 ARMP sage-grouse protection

standards and allowed unnecessary and undue degradation (“UUD”). Mot. at 14.

Appellants ignore that the Project achieves an overall net conservation gain for sage-

grouse habitat through Lithium Nevada’s funding of habitat enhancement credits

under the State of Nevada’s Conservation Credit System (“CCS”), which were cal-

culated based on extensive surveying of 49,000 acres in the Project area. SER27.



     16
       Appellants concede that mineralization exists in the Project’s mine pit,
SER4990, and where Lithium Nevada establishes valid mining claims it is undis-
puted the RMP requirements regarding sage grouse are inapplicable. As discussed
above, BLM applied those requirements anyway.

                                         - 23 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 26 of 45




BLM’s application of this net-conservation-gain requirement ensures the mitigation

provided through the CCS will provide a “net benefit” for the sage-grouse habitat,

addressing direct and indirect effects. SER552; ER112. Moreover, as the district

court observed, the protections for sage-grouse in the RMP are more protective than

required to prevent UUD. ER221. Under FLPMA, “BLM’s regulations only require

Lithium Nevada to ‘prevent adverse impacts to threatened or endangered species,

and their habitat which may be affected by operations,’ and “[s]age grouse are not

listed as a threatened or endangered species.” Id. (citing 43 C.F.R. §

3809.420(b)(7),”

      Appellants argue that BLM did not ensure that “the Project will meet state

water and air quality standards.” Mot. at 14–15. But the Project’s environmental-

protection measures go beyond complying with the Nevada Department of Environ-

mental Protection’s (“NDEP”) requirement to “maintain water quality,” incorporat-

ing standards required under a State Water Pollution Control Permit (“WPCP”), and

monitoring and adaptive-management-mitigation measures. ER173. BLM carefully

reviewed the water quality data before approving the FEIS, and additionally required

“[t]wo additional fate and transport sensitivity models … to ad-dress potential [an-

timony] scenarios.” TPEIS-1406 AR104230. And Lithium Nevada will minimize or

eliminate groundwater impairment through strategies determined with BLM and

NDEP concurrence. Furthermore, all of these measures will be monitored by a


                                       - 24 -
        Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 27 of 45




technical advisory group of BLM staff and related federal, state, and local officials

that regularly monitor water quality and quantity. ER115. The court reasonably

found that because of this and the fact that Appellants do “not identify any federal

water quality standards that the Project violates,” they failed to demonstrate the Pro-

ject causes UUD to groundwater.

       Similarly, Appellants misstate that the air scrubber is “yet-to-be-determined.”

Lithium Nevada clearly repeatedly identified that the FEIS explained “[s]ince com-

pleting the [Impact Analysis Report], Lithium Nevada concluded that the tail gas

scrubber will utilize a sodium sulfate scrubbing solution containing sodium hydrox-

ide.” SER3012 (“Air Quality Impact Analysis was completed based on guidance and

specifications from a sulfuric acid plant manufacturer, which included manufacturer

guaranteed emission levels.”). Furthermore, the FEIS demonstrates these standards

would be achieved because the Project must receive a minor-source air permit from

NDEP before construction can begin—and a prerequisite of permit issuance is an

environmental evaluation, including modeling, that demonstrates the controls will

ensure air quality standards are met. NAC 445B.308. Because Appellants addition-

ally consistently fail to “identif[y] a federal or state air quality standard that the Pro-

ject violates, and BLM’s own applicable regulations require compliance with federal

and state air quality standards,” ER222–23, this Court is unlikely to overturn the

district court’s determination that the Project does not cause UUD to air quality.


                                          - 25 -
         Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 28 of 45




    2.     BLM complied with NEPA.

           a.   BLM analyzed cumulative effects.

    The district court compared the cumulative analysis in the Project’s FEIS to the

more sparse analyses in Appellants’ cited cases and reasonably determined that here

“BLM provided more thorough analysis.” ER229. The FEIS in lists relevant past,

present, and reasonably foreseeable future actions, along with the nature and indi-

vidual acreage of those actions, where such acreages are known. ER163; ER 164

(addressing the Oregon project). The FEIS notes specific types of disturbance and

the potential impact on different resources.17 BLM therefore reasonably selected

both geographic areas and took a “hard look” at the cumulative impacts. Great Basin

Res. Watch, 844 F.3d at 1106. The district court concluded “BLM provided pages

of analysis of the cumulative impacts of the Project on various resources supported

by data,” and it is not likely this reasoning will be overturned on appeal. ER230.




    17
       ER643–44 (quantifying current air pollution and examining RFFA projects
impact by analyzing emissions data about pollutant concentrations from existing
sources, with projections about RFFA actions air quality impacts based on economic
and population growth projections, regulatory requirements, and the potential for
wildfires); ER636–37 (identifying disturbance attributable to “sand and gravel min-
ing operations” in conjunction with utility and energy development” would result in
impacts to vegetation and wetland resources, detailing possible impacts)

                                        - 26 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 29 of 45




         b.    BLM analyzed both baseline conditions and effects on wildlife
               and air quality.

     Appellants argue that the baselines for pronghorn and sage grouse were gener-

alized and cursory, but omit that the concerns highlighted were addressed in the

FEIS. They argue, for example, that the pronghorn analysis is a “single sentence,”

Mot. at 18, but the FEIS discloses the habitats and seasonal pronghorn ranges af-

fected by the project, contextualizes the winter range affected by the Project in com-

parison to the applicable hunt unit, and identifies that two pronghorn movement cor-

ridors exist within the Project area. ER157. NDOW itself— the agency they quote

as concerned—specifically acknowledged that BLM incorporated “its previous

comments regarding …pronghorn, and their habitats within and adjacent to the pro-

ject.” SER3144. This explanation “that the Project will have an adverse impact on

local pronghorn” with accompanying analysis is a “sufficient … baseline for prong-

horn,” ER227–28, and it is unlikely the Court will overturn the district court’s anal-

ysis of this argument.

     Similarly, the baseline for sage grouse was robust and specific. The FEIS dis-

cusses in detail the Project’s impacts to sage grouse, SER559–60, including identi-

fying nearby leks, the quality of the sage grouse habitat within and around the Project

area, the amount of existing disturbance in the population management unit




                                        - 27 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 30 of 45




(“PMU”),18 and the current status of the sage grouse population in the PMU. ER156.

Appellants’ willful blindness explains the district court’s observation that “Plaintiffs

statement [on summary judgment] that ‘there are no details about sage-grouse use

of the area’ in the FEIS is simply inaccurate,” and the “baseline surveys … con-

ducted for sage grouse” in Appendix G make it unlikely the Court will overturn the

district court’s conclusion that the FEIS sufficiently describes the sage grouse base-

line. ER227.

     BLM also directly responded to the NDOW comments regarding the impact of

groundwater pumping on wildlife and revised the FEIS accordingly. ER158. Fur-

thermore, the FEIS explains that “[i]mplementation of [the mitigation plan] would

likely reduce or minimize potential impacts to water dependent resources.”

SER3034. The effects Appellants reference are those “[e]ffects would be concur-

rently reclaimed.” Id. at AR067777. Appellants cannot “broad[ly] generaliz[e]” that

BLM failed to look at impacts to groundwater given these specific analyses, Mot. at

19, and it is unlikely this Court will overturn the district court’s conclusion that BLM

provided “a reasonably thorough discussion of the significant aspects of the probable

environmental consequences” of the Project. ER223–24.


18
  Plaintiffs’ overwrought claims of harm to aesthetics in the area are belied by the
fact that significant drilling under prior authorizations already occurred within the
Project area, SER 4602 (depicting hundreds of drill holes in and around the current
Project area), and extensive digging and trenching to assess over 50,000 pounds of
material pursuant to prior authorizations. TPEIS-0384 at AR-046576.

                                         - 28 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 31 of 45




     Finally, BLM clearly analyzed and understood impacts to air quality. Plaintiffs’

cherry-picking of BLM statements prior to preparation of the DEIS, (Mot. at 19),

ER225, mischaracterizes the comprehensive nature of BLM’s review and ignores

the extensive analysis of the Project’s air impacts. As discussed, BLM ensured the

Project identified the tail gas scrubber technology, which itself was subject to “man-

ufacture guaranteed emissions levels,” SER3012, that BLM was entitled to rely on

to estimate emissions from the sulfuric acid plant and model air quality impacts be-

cause an agency is “afforded deference in choosing its scientific method for model-

ing data.” N. Plains Res. Council, Inc. v. Surface Transp. Bd., 668 F.3d 1067, 1080

(9th Cir. 2011). This Court will likely agree with the district court that BLM’s review

of the Project’s modeled effects to air quality and requirement that the Project meet

state and Federal air quality standards constituted a “hard look” at those impacts.


          c.   BLM analyzed mitigation measures and their effectiveness.

     Appellants repeat their baseless claim that BLM approved the Project without

a mitigation plan. Mot. at 20. Like many other arguments, this is answered by a

citation to the record: “contrary to Environmental Plaintiffs’ argument, the FEIS does

contain a groundwater quality monitoring and mitigation plan[,] (TPEIS-0384 at

AR-045572-76; see also TPEIS-0711 (Appendix P).),” The proposed groundwater

monitoring network will provide an early warning system for drawdowns that may

occur beginning in 2035. SER532–33. The monitoring and mitigation plan may

                                        - 29 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 32 of 45




evolve over time in response to data collection and in coordination with the Water

Resources Technical Advisory Group organized and managed by BLM. SER532;

ER103 (“BLM [will have] periodic opportunities to reevaluate the analysis of po-

tential impacts during and after implementation.”). BLM specifically analyzed the

effectiveness of appropriate mitigation measures, explaining “”[t]he adaptive man-

agement approach ...is appropriate for the project in light of ...acknowledged uncer-

tainties associated with groundwater model predictions, [and will] allow for the early

implementation of appropriate mitigation measures,” SER2953; including “active

groundwater extraction and treatment.” SER4749.


     C. BRL has not shown a likelihood to succeed on its Rosemont extension.

     BRL argues that it is likely that this Court will disagree with the district court

and extend Rosemont beyond even the district court’s approach—so there is a like-

lihood of success on the merits of its claim that Rosemont should be extended to land

underlying water and power-transmission lines. The district court properly rejected

this argument, holding that “arguing for a further extension of law is not logically

compatible with a strong likelihood of success on the merits—because Rancher

Plaintiffs do not, and cannot, point to any precedent supporting their argument—

especially when it is not yet even clear whether the Ninth Circuit will agree with the

way the Court extended Rosemont in this case.” ER9–10. Novel arguments with

“no precedent of success on the merits … [of the] claim weigh[] strongly against the

                                        - 30 -
         Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 33 of 45




Court granting a preliminary injunction—which must be supported by a finding of a

strong likelihood of success on the merits—on such a claim.” Acad. of Motion Pic-

ture Arts & Scis. v. Network Sols., Inc., 989 F. Supp. 1276, 1279 (C.D. Cal. 1997);

Where Do We Go Berkeley v. Cal. DOT, 32 F.4th 852, 863 (9th Cir. 2022) (“No

injunction can issue based on only a plausible claim.”).

    BRL also overlooks that BLM reasonably authorized the pipelines and trans-

mission line under 43 C.F.R. § 3715.19 BRL concedes that “the proposed location of



    19
         BRL, like the ENGO Appellants, focused on the waste-rock and tailings
dumps when urging the district court to extend Rosemont to apply to BLM’s regula-
tions. Only in its summary-judgment reply did BRL argue obliquely that some “lith-
ium processing facilities, CTFS, and associated infrastructure, including water and
power transmission lines” were on invalid mining claims. SER4965. In no way does
that sentence make the argument that BRL now raises: that even temporary occupa-
tion under different regulations than those referenced in Rosemont are foreclosed by
Rosemont. BRL thus waived this argument because it did not clearly articulate it in
its briefs (which were almost entirely focused on other issues), and only cogently
raised it for the first time at the summary-judgment hearing. And even at oral argu-
ment, the substance of BRL’s argument was simply that “vacatur would be essential
here because … there are no valid mineral right claims” under the planned transmis-
sion line.” SER Tr. at 7, see id. at 6–8. A “single-sentence argument made during
oral argument did not sufficiently raise to the … court the argument” and “waive[s]
th[e] argument.” Mortg. Store v. Field (In re Mortg. Store), No. 12-00653 JMS/KSC,
2013 U.S. Dist. LEXIS 54825, at *28 (D. Haw. Apr. 16, 2013); see BankAmerica
Pension Plan v. McMath, 206 F.3d 821, 825 (9th Cir. 2000) (determining “parties
cannot raise new issues on appeal to secure a reversal of the lower court’s summary
judgment determination”). That BRL waived this argument below, and thus cannot


                                        - 31 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 34 of 45




the mine pit is within an area of known mineralization.” SER4765. Therefore, given

that Lithium Nevada chose to place the lithium mine pit, after years of exploration,

on mineralized claims, the activities and structures “reasonably incident” to the mine

pit that “[c]onstitute substantially regular work” and are “reasonably calculated to

lead to the … beneficiation of minerals” are permitted under 43 C.F.R. § 3715.2. The

water line and powerline are “reasonably incident” to the mine pit and will be used

to “develop” the mine, and the “procurement of supplies” like water and power con-

stitutes “[s]ubstantially regular work” that will lead to the beneficiation of the mine

pit. 43 C.F.R. § 3715.0-5. This regulation applies when “proposed use” is “reasona-

bly incident” to the mine pit and also includes “occupancy.” 43 C.F.R. § 3715.1.

“[O]ccupancy” under 43 C.F.R. § 3715.0-5 “may encompass the construction, pres-

ence, or maintenance of temporary or permanent structures, such as transmission

lines.” Howard Sadlier, 2011 IBLA Disp. Orders LEXIS 42, *7 (Sept. 8, 2011). And

where sufficient mining operations exist, the “level of activity” necessary to “me[e]t

the requirements of 43 CFR 3715.2” includes “water impoundments and delivery”

like the water line and powerline in this case. Terry Hankins, 162 IBLA 198, 216–

17 (July 22, 2004). BLM therefore “approv[ed]” the transmission line, pipeline, and




press it before this Court, is an independent reason why BRL has failed to show a
likelihood of success on the merits.

                                        - 32 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 35 of 45




related “reasonably incident” activities “under the applicable regulatory sections

within subparts … 3715.” ER103.


II. Appellants failed to show they will be irreparably harmed without injunc-
    tive relief.

     Appellants characterize alleged harms that could result from the Project as a

whole—over its 41-year lifespan. They do not—as they must for purposes of their

motion—limit those potential injuries to what might occur during the few months

leading up to July 2023 when optional replies are due under this Court’s briefing

schedule. Nor do Appellants show irreparable harm specific to the Site usage.

     Appellants argue environmental injury is automatically irreparable. Mot. at 4.

But an injunction is not a matter of right, even if irreparable injury might otherwise

result. Nken, 556 U.S. at 434. This Court has rejected Appellants’ argument that

“any potential environmental injury automatically merits an injunction.” Earth Is-

land Inst. v. Carlton, 626 F.3d 462, 474 (9th Cir. 2010).

     To qualify as irreparable harm, the injury must be “both certain and great.” San

Diego Bev. & Kup v. United States, 997 F. Supp 1343, 1347 (S.D. Cal. 1998). Ap-

pellants’ alleged harms are neither—so they fail.




                                        - 33 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 36 of 45




     As the court explained, Appellants failed to identify irreparable harm based on

activities planned for the Site.20 ER9. Appellants thus fail to show “immediate threat-

ened injury” to those areas that would give rise to emergency relief. Id. (citing Car-

ibbean Marine Servs. Co. v. Baldridge, 844 F.2d 668, 674 (9th Cir. 1988)).

     Because the court thoroughly analyzed Appellants’ arguments below, and care-

fully constructed its Merits Order and its IPA Order to address every issue, it also

addressed Appellants’ arguments that “generalized harm” would result from remand

without vacatur. The court emphasized that it considered the “totality of the environ-

mental issues discussed in the Merits Order,” and ruled that “the Court does not find

that the irreparable harm prong of the analysis weighs heavily in the [Appellants’]

favor.” ER10.

     As to the certainty prong, Appellants rely on alleged impacts to sage-grouse

habitat generally but ignore that the Project-area habitat is not high quality as origi-

nally projected in the 2015 RMP’s modeled mapping; ignore the unrebutted record

evidence that “the majority of high suitability winter habitat is located northwest of

the Project area” where it overlaps with the mine pit,” SER30, compare SER34 (Fig.

13) with SER704; and explicitly acknowledge that Lithium Nevada’s rights under


     20
         That failure is all the more glaring because Lithium Nevada raised in briefing
and at the hearing below Appellants’ failure to identify any harm arising from activ-
ities at the Site. Arguments not opposed are deemed conceded. Greenawalt v. Rick-
etts, 943 F.2d 1020, (9th Cir. 1991).

                                         - 34 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 37 of 45




the Mining Law to the concededly valid claims under the mine pit exempted it from

the RMP’s sage-grouse protections. ECF 264 at 12 n.5 (“WWP’s evidence … which

shows that the ‘known zone of Li [lithium] mineralization’ is in the pit”). Also, as

Lithium Nevada pointed out before the district court, Appellants rely on Terry Craw-

forth’s declaration that is vague and addresses potential harm that either is mitigated

or unavoidable in an area that they concede is subject to Lithium Nevada’s Mining

Law rights.21 Mr. Crawforth’s claim the Project will “remove” an ecosystem in the

Montana Mountains is wrong – Lithium Nevada spent two years and millions to

relocate the mine outside of the Montana Mountains to avoid high quality sage

grouse habitat.22 Other than that, Appellants’ “harm” argument focuses on a specific

pit area that Appellants admit is not subject to the RMP. Appellants failed to identify

any other areas impacted by alleged RMP “violation” or specifically located in the

Site at issue. And, as explained above, the Project actually achieves a net conserva-

tion gain for sage-grouse habitat through Lithium Nevada’s funding of habitat-en-

hancement credits under the CCS.



     21
         Appellants’ emphasis on the high-quality winter habitat within the Project
area, Mot. at 14; id. Ex. 1 at ¶¶ 15–16, 20–21, 25–31, 34, focuses on the specific pit
area that Plaintiffs admit is not subject to the RMP and Appellants otherwise fail to
identify any other areas impacted by alleged RMP “violation” or specifically located
in the waste-storage area at issue.
22
   Lithium Nevada conducted additional exploration to move the Project to “substan-
tially lower” quality sage grouse habitat. SER406.

                                         - 35 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 38 of 45




     Significantly, Appellants ignore that Lithium Nevada designed the Project and

created its mitigation plan to conform with the RMP’s sage-grouse goals, objectives,

and requirements, and that Lithium Nevada responded to, addressed, and identified

the mitigation for all of the exact harms that Appellants allege. See SER 5219–20.

In fact, under the Project’s reclamation plan, “residual effects to wildlife habitat

would include the permanent loss of less than five acres.” SER5223. As Lithium

Nevada explained below and during the merits briefing, the record shows that the

Project will be concurrently reclaimed as areas are mined, so impacts to Appellants’

alleged aesthetic and vegetation harms will be mitigated. SER5220–21.

     BRL similarly alleges environmental interests in sage-grouse and Lahontan cut-

throat trout, but neither is in “imminent danger” from implementation of the mine

plan. See BRL Mot. at 11. As Lithium Nevada has explained, sage-grouse habitat in

the mine area is marginal with most high-suitability winter habitat located northwest

of the Project. And like ENGO Appellants, BRL ignores that the Project’s mitigation

plan was designed in conformance with the RMP to address potential harms to sage-

grouse habitat.23 As to trout, the Project is not projected to affect Lahontan cutthroat


     23
       Bartell also claims that the water pipeline and power-transmission lines will
pass through a sage-grouse lek. BRL Mot. at 11. But the FEIS very clearly states that
there are only four known leks in the Project vicinity, all of which are north of the
Project area and not near the proposed water pipeline or power-transmission lines.
SER549, SER559. The areas depicted in EIS Figure 4.5-10 as “unknown” have not
been confirmed to support either an active or inactive lek.

                                         - 36 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 39 of 45




trout habitat in Crowley and Pole Creeks (SER554). FWS and BLM both anticipate

the Project will not have impacts for the life of project but monitoring as imple-

mented safeguards to predict trends and allow ongoing assurances. And even if

groundwater drawdowns from mining did extend that far, those effects would not

occur for many years, far beyond the timeframe for appellate review. In other words,

BRL provides no evidence that alleged environmental harms to sage-grouse and

trout are either great or certain to occur during the pendency of appeal. In the absence

of imminent irreparable harm, none of the Appellants are entitled to extraordinary

relief.


III. Appellants have failed to show that an injunction pending appeal would
     not substantially injure other parties.

     Contrary to Appellants’ assertion, the third element in the context of a motion

for an injunction pending appeal does not ask where the balance of equities lies. See

Mot. at 21. Instead, the third element asks whether an injunction pending appeal will

substantially injure other parties interested in the proceeding. Sierra Club, 929 F.3d

at 687. The district court correctly concluded that this factor weighs against Appel-

lants because “[f]urther delay of the project will harm Lithium Nevada.” ER11. It

determined that this element “at least very slightly favors denying” an injunction

pending appeal. Id.




                                         - 37 -
         Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 40 of 45




    There is no basis for this Court to reach a different conclusion, because the

evidence supports the district court’s finding that delay will harm Lithium Nevada.

The economic cost of delay is not a few thousand or tens of thousands of dollars;

delaying the Project means delaying “annual revenue of the project … expected to

be approximately $1.5 billion” and doing so “could jeopardized Project financing,

including both the second tranche of funding from GM ($330M) and the DOE fund-

ing, ultimately putting the Project at risk or making its construction and operation

far more costly.” SER5242–43. At a minimum, “Lithium Nevada has [already] in-

vested over $150 million in pre-construction permitting, equipment acquisition, se-

curing contractors, and other expenses.” SER5242. Courts remand without vacatur

for much less—and those discretionary decisions have been upheld. See Vecinos

para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321 (D.C. Cir. 2021);

Gulf Restoration Network, 47 F.4th at 804; Cal. Cmtys. Against Toxics, 688 F.3d at

994; Backcountry Against Dumps, 2017 U.S. Dist. LEXIS 139090, at *15–16.24




    24
       BRL argues that an injunction pending appeal would not harm Lithium Ne-
vada, because Lithium Nevada allegedly does not yet have funding needed to begin
construction. BRL Mot. at 10–11. That is inaccurate. All the necessary equipment is
ready, and Lithium Nevada has funding secured to begin construction, so any delay
imperils that funding and wastes funds expended to ready personnel and equipment.

                                        - 38 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 41 of 45




IV. Appellants have failed to show that an injunction pending appeal would be
    in the public interest.

    As the district court noted, “if saving a snail warrants judicial restraint, so does

saving the power supply.” ER11 (quoting California Communities Against Toxics v.

U.S. E.PA., 688 F.3d 989, 994 (9th Cir. 20212).

    …there is, if nothing else, a tension between the macro environmental ben-
    efit that could result from the Project and the micro (relatively speaking)
    environmental harm that will likely flow from the Merits Order unen-
    joined.

ER11. In fact, that “macro environmental benefit” is quantifiable: every single day

the mine is prevented from producing lithium, the lost production is the equivalent

of preventing production of about 4,100 electric vehicles each day. Lithium Ne-

vada’s Motion for Briefing Schedule at 12, ECF No. 10-1. Battery storage is “vital

to combatting climate change and very lithium dependent.” ECF 65- Ex. 6, Lowry

¶14. Global lithium demand is forecasted to triple by 2025 and to outstrip supply as

electrification of the transportation sector intensifies. The current U.S. demand for

lithium is approximately 18,000 tons per year of lithium carbonate equivalent (“tpa

LCE”). By 2025, the U.S. is forecasted to require approximately 100,000 tpa LCE,

increasing to about 350,000 tpa LCE by 2030. This demand increased even more

with President Biden’s Executive Order on August 5, 2021, aimed at making half of

all new vehicles sold in the U.S. electric by 2030. And right now, the vast majority

of lithium used in the U.S. comes from or through China.

                                        - 39 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 42 of 45




    Thacker Pass is the only project positioned to help meet our country’s demand.

The U.S. currently produces less than 5,000 tpa LCE from just one facility. At a

proposed capacity of 66,000 tons per year LCE at full buildout, the Project will be-

come a cornerstone of the U.S. lithium supply. There are no other U.S. alternatives

to Thacker Pass that provide the scale, grade, or timeline to production required to

keep pace with electrification of the transportation sector and reduction of carbon,

in addition to providing the lithium products required by the military for national

security. ECF 65 Ex. 7 ¶¶21-26; Ex. 6, Lowry Dec. ¶¶11, 13-14, 15-18. Put another

way, Appellants have failed to show an injunction pending appeal would serve the

public interest through environmental benefits – particularly given those benefits

come from the Project itself.

    Appellants have failed to show that an injunction pending appeal would serve

local public interests. And it is hard to see how they could. The Project’s operation

will add “$650 million … to the local economy” of Nevada, the Project’s construc-

tion will employ over 1,300 people (including Fort McDermitt Tribal members), and

ultimately net “$6.7 billion in Federal, state, and local taxes.” SER5245

    Appellants have also failed to show that an injunction pending appeal would

serve broader national interests. Every day that the United States continues to rely

on China for lithium is another day of reliance on an increasingly aggressive neigh-

bor for a mineral critical to U.S. “manufacturing sectors, medicine, and national


                                       - 40 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 43 of 45




defense systems.” SER5235. Because China could cut off the U.S.’s supply of lith-

ium needed for national security and to combat continuing climate-change impacts,

President Biden’s Supply Chain Disruption Task Force concluded that the U.S. must

“invest immediately in scaling up a secure, diversified supply chain for high-capac-

ity batteries.” SER5240; see also SER5235 (noting that “lithium is ‘essential’ to US.

economic security and ‘critical’ to national security”); 30 U.S.C. §§ 1602, 1621a

noting Congress’s emphasis on the need for a “stable supply of [critical minerals]

necessary to maintain national security”). Were the Project to be stayed for any pe-

riod, the country’s ability to address national-security threats would be critically de-

layed. As Lithium Nevada has explained, the record shows that the Project directly

supports local, state, and national objectives to engage the local community in job-

skill development, to provide substantial community benefits to the Fort McDermitt

Tribe, to decrease the effects of climate change, and to protect national security.

Lithium Nevada Emergency Response at 26. The Project will produce lithium that

will aid the country’s war on climate change, positively impact the global environ-

ment, and further our country’s energy usage, national security, and the economy

within the community around the mine and in the State of Nevada. See Id. SER5250

(shipping lithium from China to the U.S. increases CO2 emissions and implicates

questionable labor practices).




                                         - 41 -
          Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 44 of 45




     Simply put, Appellants have failed to show that an injunction pending appeal

would serve environmental, local, national, and global public interests. That failure

is another reason to deny Appellants’ motion.


V.   If the Court were to enter an injunction pending appeal, it should require
     Appellants to post a reasonable bond.

     Were the Court to award Appellants an injunction pending appeal, it should re-

quire Appellants to post a bond, because Lithium Nevada would suffer substantial

damages from delay. Those damages would include, but not be limited to, Lithium

Nevada’s recent, significant capital expenditures to obtain equipment and contrac-

tors to start the Project. SER5254–43.

     Any bond should be more than nominal. Appellants allege that they would lose

their ability to prosecute this appeal if the Court required a significant bond. To be

sure, the Court may waive the bond requirement or impose a nominal bond if requir-

ing a higher bond “would effectively deny access to judicial review.” Cal. ex. rel.

Van de Kamp v. Tahoe Reg’l Plan. Agency, 766 F.2d 1319, 1325–26 (9th Cir. 1985).

But that is not this case. Tax information suggests that Appellants can post a reason-

able bond.25 And BRL is not a nonprofit; it’s an economic entity interested in


     25
        In 2020, Western Watersheds Project, Inc. had total revenue of $1.3 million,
and expenses of $1.1 million, with a net income of $200,000 and other assets of
almost $600,000. See ProPublica Nonprofit Explorer, available at
https://bit.ly/3Ze5auf.

                                         - 42 -
       Case: 23-15262, 02/28/2023, ID: 12663682, DktEntry: 15, Page 45 of 45




preserving its business endeavor. Thus, if the Court were to enjoin construction

pending appeal, the Court should require Appellants to post a bond sufficient to

cover $150 million in damages to Lithium Nevada.


                                CONCLUSION

    The Court should deny Appellants’ motion for an injunction pending appeal.


Date: February 28, 2023.                 HOLLAND & HART LLP


                                         /s/ Laura K. Granier
                                         Laura K. Granier

                                         Attorney for Defendant–Intervenor–Ap-
                                         pellee Lithium Nevada Corporation




                                      - 43 -
